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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:


 Southern
 ____________________             Texas
                      District of _________________
                                        (State)
                         23-[!]
 Case number (If known): _________________________         11
                                                   Chapter _____                                                                  # Check if this is an
                                                                                                                                      amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                           SMI Topco Holdings, Inc.
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used             ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer                8 ___
                                              ___ 2 – ___
                                                       3 ___
                                                          0 ___
                                                             3 ___
                                                                6 ___
                                                                   8 ___
                                                                      5 ___
                                                                         0
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                Mailing address, if different from principal place
                                                                                                         of business

                                               8 Sound Shore Drive
                                              ______________________________________________             _______________________________________________
                                              Number     Street                                          Number     Street

                                              ______________________________________________             _______________________________________________
                                                                                                         P.O. Box

                                              Greenwich                  CT        06830
                                              ______________________________________________             _______________________________________________
                                              City                        State    ZIP Code              City                      State      ZIP Code


                                                                                                         Location of principal assets, if different from
                                                                                                         principal place of business
                                              Fairfield
                                              ______________________________________________
                                              County                                                     _______________________________________________
                                                                                                         Number     Street

                                                                                                         _______________________________________________

                                                                                                         _______________________________________________
                                                                                                         City                      State      ZIP Code




 5.   Debtor’s website (URL)                  https://www.smi.com/
                                              ____________________________________________________________________________________________________




Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                            page 1
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Debtor        SMI Topco Holdings, Inc.
              _______________________________________________________                                              23-[!]
                                                                                            Case number (if known)_____________________________________
              Name




 6.   Type of debtor                      # Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                          # Partnership (excluding LLP)
                                          # Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                          # Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          # Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          # Railroad (as defined in 11 U.S.C. § 101(44))
                                          # Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          # Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          # Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          # None of the above

                                          B. Check all that apply:

                                          # Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          # Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                          # Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                              5 ___
                                             ___    2 ___
                                                 6 ___ 9

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                      # Chapter 7
                                          # Chapter 9
                                          # Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                 # The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                           # The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                          # A plan is being filed with this petition.
                                                          # Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                          # The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                          # The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                          # Chapter 12




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 2
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Debtor         SMI Topco Holdings, Inc.
               _______________________________________________________                                            23-[!]
                                                                                            Case number (if known)_____________________________________
               Name



 9.   Were prior bankruptcy cases        # No
      filed by or against the debtor
      within the last 8 years?           # Yes. District _______________________ When _______________ Case number _________________________
                                                                                             MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

 10. Are any bankruptcy cases            # No
      pending or being filed by a
      business partner or an             # Yes. Debtor _____________________________________________
                                                       See Rider 1                                   Relationship _________________________
      affiliate of the debtor?                     District _____________________________________________ When               __________________
      List all cases. If more than 1,                                                                                        MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________



 11. Why is the case filed in this       Check all that apply:
      district?
                                         # Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                             district.

                                         # A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12. Does the debtor own or have         # No See Rider 2
      possession of any real             # Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                  # It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard? _____________________________________________________________________

                                                  # It needs to be physically secured or protected from the weather.
                                                  # It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                      attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                      assets or other options).

                                                  # Other _______________________________________________________________________________


                                                  Where is the property?_____________________________________________________________________
                                                                            Number          Street

                                                                            ____________________________________________________________________

                                                                            _______________________________________         _______ ________________
                                                                            City                                            State ZIP Code


                                                  Is the property insured?

                                                  # No
                                                  # Yes. Insurance agency ____________________________________________________________________
                                                           Contact name     ____________________________________________________________________

                                                           Phone            ________________________________




              Statistical and administrative information




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 3
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Debtor       SMI Topco Holdings, Inc.
            _______________________________________________________                                                   23-[!]
                                                                                               Case number (if known)_____________________________________
            Name




 13. Debtor’s estimation of              Check one:
     available funds                     # Funds will be available for distribution to unsecured creditors.
                                         # After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                         # 1-49                             # 1,000-5,000                               # 25,001-50,000
 14. Estimated number of
                                         # 50-99                            # 5,001-10,000                              # 50,001-100,000
     creditors
                                         # 100-199                          # 10,001-25,000                             # More than 100,000
                                         # 200-999

                                         # $0-$50,000                       # $1,000,001-$10 million                    # $500,000,001-$1 billion
 15. Estimated assets
                                         # $50,001-$100,000                 # $10,000,001-$50 million                   # $1,000,000,001-$10 billion
                                         # $100,001-$500,000                # $50,000,001-$100 million                  # $10,000,000,001-$50 billion
                                         # $500,001-$1 million              # $100,000,001-$500 million                 # More than $50 billion

                                         # $0-$50,000                       # $1,000,001-$10 million                    # $500,000,001-$1 billion
 16. Estimated liabilities
                                         # $50,001-$100,000                 # $10,000,001-$50 million                   # $1,000,000,001-$10 billion
                                         # $100,001-$500,000                # $50,000,001-$100 million                  # $10,000,000,001-$50 billion
                                         # $500,001-$1 million              # $100,000,001-$500 million                 # More than $50 billion


            Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
     authorized representative of
                                             petition.
     debtor
                                             I have been authorized to file this petition on behalf of the debtor.

                                             I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                                        12/04/2023
                                            Executed on _________________
                                                        MM / DD / YYYY


                                         " /s/ Brian Michaud
                                             _____________________________________________                Brian Michaud
                                                                                                         _______________________________________________
                                            Signature of authorized representative of debtor             Printed name

                                                  President and Secretary
                                            Title _________________________________________




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 4
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Debtor       SMI Topco Holdings, Inc.
            _______________________________________________________                                             23-[!]
                                                                                        Case number (if known)_____________________________________
            Name




 18. Signature of attorney
                                      "     /s/ Paul E. Heath
                                          _____________________________________________            Date        12/04/2023
                                                                                                              _________________
                                          Signature of attorney for debtor                                    MM    / DD / YYYY



                                          Paul E. Heath
                                         _________________________________________________________________________________________________
                                         Printed name
                                          Vinson & Elkins LLP
                                         _________________________________________________________________________________________________
                                         Firm name
                                          845 Texas Ave.
                                         _________________________________________________________________________________________________
                                         Number       Street
                                          Houston
                                         ____________________________________________________             Texas
                                                                                                         ____________  77002
                                                                                                                      ______________________________
                                         City                                                            State        ZIP Code

                                          713-758-3313
                                         ____________________________________                             pheath@velaw.com
                                                                                                         __________________________________________
                                         Contact phone                                                   Email address



                                          09355050                                                        Texas
                                         ______________________________________________________ ____________
                                         Bar number                                             State




 Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 5
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                                    Rider 1
      Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the
Debtor in the United States Bankruptcy Court for the Southern District of Texas

                         American Specialty Glass, Inc.

                       Container Recycling Alliance, LLC

                                NexCycle, Inc.

                              Ripple Glass, LLC

                          SMI BevCon HoldCo, LLC

                             SMI Equipment, Inc.

                         SMI Group Acquisitions, Inc.

                          SMI Group Holdings, LLC

                       SMI Group Ultimate Holdings, Inc.

                          SMI Nutmeg HoldCo, LLC

                    SMI Reflective Industries HoldCo, LLC

                    SMI Reflective Recycling HoldCo, LLC

                   SMI Reflective Recycling NE HoldCo, LLC

                           SMI Topco Holdings, Inc.

                       Strategic Materials Holding Corp.

                            Strategic Materials, Inc.
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                                              Rider 2
            Real Property or Personal Property That Needs Immediate Attention

Question 12, among other things, asks debtors to identify any property that poses or is alleged to
pose a threat of imminent and identifiable hazard to public health or safety.

SMI Topco Holdings, Inc. and its affiliated companies that are also filing voluntary chapter 11
bankruptcy cases in this Court (collectively, the “Debtors”) are, collectively, a privately held
company that is the industry leader in recovering and processing post-consumer and post-industrial
glass in North America. The Debtors do not believe they own or possess any real or personal
property that poses or is alleged to pose a threat of imminent and identifiable harm to public health
or safety. The Debtors note that they are not aware of any definition of “imminent and identifiable”
harm as used in this form.
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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS

  In re:                                                 §        Case No. 23-[____]
                                                         §
  SMI TOPCO HOLDINGS, INC.                               §        (Chapter 11)
                                                         §
           Debtor.                                       §        (Joint Administration Requested)
                                                         §        (Emergency Hearing Requested)


       CORPORATE OWNERSHIP STATEMENT (RULES 1007(a)(1) AND 7007.1)

Pursuant to Federal Rules of Bankruptcy Procedure 1007(a)(1) and 7007.1, the following are corporations,
other than the debtor or a governmental unit, that directly own 10% or more of any class of the corporation’s
equity interests:

Corporate Equity Holder(s)            Address of Corporate Equity Holder(s)                 Percentage of
                                                                                            Equity Held

      SMI Topco L.P.                       17220 Katy Freeway, Suite 150                         100%
                                              Houston, Texas, 77094
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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS

  In re:                                               §       Case No. 23-[____]
                                                       §
  SMI TOPCO HOLDINGS, INC.                             §       (Chapter 11)
                                                       §
           Debtor.                                     §       (Joint Administration Requested)
                                                       §       (Emergency Hearing Requested)


               LIST OF EQUITY SECURITY HOLDERS (RULE 1007(A)(3))

Pursuant to Rule 1007(a)(3) of the Federal Rules of Bankruptcy Procedure, the following identifies all
known holders having a direct or indirect ownership interest of the above captioned debtor in possession:

Corporate Equity Holder(s)          Address of Corporate Equity Holder(s)                Percentage of
                                                                                         Equity Held

      SMI Topco L.P.                      17220 Katy Freeway, Suite 150                      100%
                                             Houston, Texas, 77094
                                                       Case 23-90908 Document 1 Filed in TXSB on 12/04/23 Page 10 of 19



      Fill in this information to identify the case:
      Debtor name Strategic Materials, Inc., et al,
      United States Bankruptcy Court for the: The District of Houston
                                                                                                                                                                                               "
      Case number (If known): ______________                                                                                                                                                        Check if this is an amended
                                                                                                                                                                                                   filing


      Official Form 204
      Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest
      Unsecured Claims and Are Not Insiders
      A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. §
      101(31). Also, do not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30 largest unsecured claims.

      Name of creditor and complete mailing address, including zip code        Name, telePhone number, and Email address of creditor Nature of the claim (for               Indicate if claim is   Amount of unsecured claim
                                                                               contact                                               example, trade debts,                 contingent,             if the claim is fully unsecured, fill in only unsecured claim amount.
                                                                                                                                     bank loans, professional              unliquidated, or        If claim is partially secured, fill in total claim amount and
                                                                                                                                     services, and government              disputed                deduction for value of collateral or setoff to calculate unsecured
                                                                                                                                     contracts)                                                    claim.
                                                                                                                                                                                                   Total claim, if        Deduction for value Unsecured claim
                                                                                                                                                                                                   partially secured      of collateral or setoff


                                                                               Attn: Katie Farmer
      BNSF Railway Company
                                                                               Title: President and Chief Executive Officer
 1 2650 Lou Menk Drive                                                                                                                              Trade Payable                                                                                 $           1,104,727
                                                                               Phone: 800‐795‐2673
      Fort Worth, TX 76131
                                                                               Email: katie.farmer@bnsf.com


      Waste Management, Inc.                                                   Attn: James Fish Jr.
      800 Capitol                                                              Title: President and Chief Executive Officer
 2                                                                                                                                                  Trade Payable                                                                                  $           948,935
      Suite 3000                                                               Phone: (713) 512‐6200
      Houston, TX 77002                                                        Email: jfish@wm.com



                                                                               Attn: Bradley Morgan
      HRM Services, Inc.
                                                                               Title: President
 3 2420 Davistown Road                                                                                                                              Trade Payable                                                                                  $           793,369
                                                                               Phone: (919) 868‐2692
      Wendell, NC 27591
                                                                               Email: Hrmservices@protonmail.com


      CSX Transportation                                                       Attn: Joseph R. Hinrichs
      500 Water St                                                             Title: President and Chief Executive Officer
 4                                                                                                                                                  Trade Payable                                                                                  $           787,437
      15th Floor                                                               Phone: 904‐359‐3200
      Jacksonville, FL 32202                                                   Email: joe_hinrichs@csx.com


                                                                               Attn: Stephen Weidner
   Pilkington                                                                  Title: President and Head of Architectural Glass North America
 5 811 Madison Avenue                                                          and Solar Products                                                   Trade Payable                                                                                  $           675,991
   Toledo, OH 43604                                                            Phone: (800) 221‐0444
                                                                               Email: stephen.weidner@nsg.com


      Owens Illinois                                                           Attn: Andres Lopez
      One Michael Owens Way                                                    Title: Chief Executive Officer
 6                                                                                                                                                  Trade Payable                                                                                  $           624,869
      Plaza 2                                                                  Phone: 567‐336‐5000
      Perrysburg, OH 43551                                                     Email: alopez@o‐i.com


                                                                               Attn: John Cole
      Cole Transportation Inc
                                                                               Title: President
 7 1920 Duck Slough Blvd.                                                                                                                           Trade Payable                                                                                  $           565,721
                                                                               Phone: (727) 240‐3363
      New Port Richey, FL 34655
                                                                               Email: john.cole@colepallet.com


                                                                               Attn: Todd Smith
      Smith Transport
                                                                               Title: President
 8 153 Smith Transport Rd                                                                                                                           Trade Payable                                                                                  $           505,435
                                                                               Phone: 800‐877‐1173
      Roaring Spring, PA 16673
                                                                               Email: tsmith@i65transport.com


                                                                               Attn: Scott Huntsman
      S C Huntsman Trucking, LLC
                                                                               Title: Owner
 9 4755 St Rt 309                                                                                                                                   Trade Payable                                                                                  $           497,640
                                                                               Phone: (419) 462‐5223
      Galion, OH 44833
                                                                               Email: huntsmantrucking@yahoo.com

      Union Pacific Railroad                                                   Attn: Jim Vena
      1400 Douglas St.                                                         Title: Chief Executive Officer
 10                                                                                                                                                 Trade Payable                                                                                  $           443,621
      19th Floor                                                               Phone: 402‐544‐5000
      Omaha, NE 68197                                                          Email: jvena@up.com


                                                                               Attn: Noemi Gil‐Rogers
      J. Gil Trucking
                                                                               Title: Office Manager
 11 10135 Fm 1462                                                                                                                                   Trade Payable                                                                                  $           365,217
                                                                               Phone: 281‐331‐2887
      Alvin, TX 77511
                                                                               Email: jgiltrucking@outlook.com


      US Transportation Services, Inc.
                                                                               Attn: Chief Executive Officer
      1511 US Highway 1
 12                                                                            Phone: (772) 664‐7770                                                Trade Payable                                                                                  $           357,479
      Suite 101
                                                                               Email: ericab@us‐transportation.net
      Sebastian, FL 32958




Official Form 204                                                                     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                                                   Page 1
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Debtor Strategic Materials, Inc., et al.,_________________________                                                                                                                                Case number (if known)_____________________________________




      Name of creditor and complete mailing address, including zip code   Name, telePhone number, and Email address of creditor Nature of the claim (for               Indicate if claim is   Amount of unsecured claim
                                                                          contact                                               example, trade debts,                 contingent,             if the claim is fully unsecured, fill in only unsecured claim amount.
                                                                                                                                bank loans, professional              unliquidated, or        If claim is partially secured, fill in total claim amount and
                                                                                                                                services, and government              disputed                deduction for value of collateral or setoff to calculate unsecured
                                                                                                                                contracts)                                                    claim.
                                                                                                                                                                                              Total claim, if        Deduction for value Unsecured claim
                                                                                                                                                                                              partially secured      of collateral or setoff


      Ardagh Glass, Inc.                                                  Attn: Michael Dick
      10194 Crosspoint Blvd.                                              Title: Chief Executive Officer
 13                                                                                                                                            Trade Payable                                                                                  $           341,784
      Suite 410                                                           Phone: (317) 558‐1002
      Indianapolis, IN 46256                                              Email: mike.dick@ardaghgroup.com


                                                                          Attn: Jon Dale
      RADO Mechanical Group LLC
                                                                          Title: Co‐Owner
 14 341 Gees Mill Business Pkwy NE                                                                                                             Trade Payable                                                                                  $           311,254
                                                                          Phone: 770‐602‐3194
      Conyers, GA 30013
                                                                          Email: info@radomechanicalgroup.com

                                                                          Attn: David Zacharias
      United Concrete and Gravel, Ltd.
                                                                          Title: Owner
 15 1279 Sword Rd.                                                                                                                             Trade Payable                                                                                  $           295,734
                                                                          Phone: 250‐992‐7281
      Quesnel, BC V2J 3J4
                                                                          Email: quesneloffice@unitedconcrete.ca


                                                                          Attn: Clyde King
      C. Ray Trucking, Inc.
                                                                          Title: President
 16 15695 Salt Creek Road                                                                                                                      Trade Payable                                                                                  $           265,106
                                                                          Phone: (503) 838‐6635
      Dallas, OR 97338
                                                                          Email: clyde@c‐raytrucking.com


                                                                          Attn: Jesse Ball
      Star Line Trucking Corp.
                                                                          Title: President and Chief Executive Officer
 17 18480 W. Lincoln Ave                                                                                                                       Trade Payable                                                                                  $           261,311
                                                                          Phone: 262‐786‐8280
      New Berlin, WI 53146
                                                                          Email: jball@starlinetrucking.com



      Tzeng Long USA, Inc.                                                Attn: Justine Chang
 18 2801 South Vail Avenue                                                Phone: (323) 722‐5353                                                Trade Payable                                                                                  $           259,041
      Commerce, CA 90040                                                  Email: Justine@tzenglong.com



                                                                          Attn: LT Galimba
      B A Roberts, Inc.
                                                                          Title: President & Operations Manager
 19 1817 W County Line Rd.                                                                                                                     Trade Payable                                                                                  $           252,804
                                                                          Phone: (863) 452‐6100
      Avon Park, FL 33825
                                                                          Email: tgalimba@barobertsinc.com


                                                                          Attn: Tammy Knutson
      Fairview Trucking
                                                                          Title: Chief Financial Officer
 20 1801 S. Bluff Road                                                                                                                         Trade Payable                                                                                  $           246,101
                                                                          Phone: 626‐357‐2177
      Montebello, CA 90640
                                                                          Email: tknutson@westcoastfairview.com

                                                                          Attn: Terry Tarditi
      T and T Trucking, Inc.
                                                                          Title: Owner
 21 11396 North Highway 99                                                                                                                     Trade Payable                                                                                  $           244,391
                                                                          Phone: (209) 931‐6000
      Lodi, CA 95240
                                                                          Email: jarbuckle@tttrucking.com


                                                                          Attn: Randall Young
      Industrial Kiln and Dryer
                                                                          Title: President
 22 12711 Townepark Way                                                                                                                        Trade Payable                                                                                  $           218,242
                                                                          Phone: (877) 316‐6140
      Louisville, KY 40253
                                                                          Email: contact@industrialkiln.com



      Kerr Farms LLC                                                      Attn: Chief Executive Officer
 23 10849 Coletown Lightsville Rd                                         Phone: 812‐369‐1368                                                  Trade Payable                                                                                  $           215,065
      Ansonia, OH 45303                                                   Email: Kerrfarmsllc@gmail.com



      Boxell Trucking, Inc.                                               Attn: Joey Boxell
 24 524 West Mulberry St.                                                 Title: President                                                     Trade Payable                                                                                  $           210,657
      Princeton, IN 47670                                                 Phone: (812) 385‐2752


                                                                          Attn: Gene Kiesel
      Parallel Products
                                                                          Title: President and Chief Executive Officer
 25 401 Industry Rd.                                                                                                                           Trade Payable                                                                                  $           208,375
                                                                          Phone: 800‐883‐9100
      Louisville, KY 40208
                                                                          Email: gkiesel@parallelproducts.com

                                                                          Attn: Shkelzen Hasani
      Brigade Site Services LLC
                                                                          Title: Owner
 26 6735 Silvercrest Dr.                                                                                                                       Trade Payable                                                                                  $           207,997
                                                                          Phone: (817) 584‐4848
      Arlington, TX 76002
                                                                          Email: Poppy@brigadesiteservices.com


                                                                          Attn: Jason Young
      Allan Company
                                                                          Title: Chief Executive Officer
 27 540 W Chevy Chase Dr                                                                                                                       Trade Payable                                                                                  $           202,764
                                                                          Phone: (626) 962‐4047
      Los Angeles, CA 90051‐5633
                                                                          Email: jyoung@allancompany.com


                                                                          Attn: Randall Breaux
      Motion Industries, Inc.
                                                                          Title: President
 28 File 749376                                                                                                                                Trade Payable                                                                                  $           194,515
                                                                          Phone: 800‐526‐9328
      Los Angeles, CA 90074‐9376
                                                                          Email: randy_breaux@genpt.com




Official Form 204                                                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                                                   Page 2
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Debtor Strategic Materials, Inc., et al.,_________________________                                                                                                                              Case number (if known)_____________________________________




     Name of creditor and complete mailing address, including zip code   Name, telePhone number, and Email address of creditor Nature of the claim (for              Indicate if claim is   Amount of unsecured claim
                                                                         contact                                               example, trade debts,                contingent,             if the claim is fully unsecured, fill in only unsecured claim amount.
                                                                                                                               bank loans, professional             unliquidated, or        If claim is partially secured, fill in total claim amount and
                                                                                                                               services, and government             disputed                deduction for value of collateral or setoff to calculate unsecured
                                                                                                                               contracts)                                                   claim.
                                                                                                                                                                                            Total claim, if        Deduction for value Unsecured claim
                                                                                                                                                                                            partially secured      of collateral or setoff


                                                                         Attn: Bobby Holcomb
     Nationwide Express
                                                                         Title: Vice President of Business Development
 29 1211 E Lane St.                                                                                                                          Trade Payable                                                                                  $           188,383
                                                                         Phone: 800‐456‐1553
     Shelbyville, TN 37160
                                                                         Email: bholcomb@nationwide‐express.com


                                                                         Attn: Linda Kopetsky
     Go‐Ko, Inc.
                                                                         Title: Owner
 30 1644 West Edgewood Ave. Ste D                                                                                                            Trade Payable                                                                                  $           182,177
                                                                         Phone: 317‐787‐4285
     Indianapolis, IN 46217
                                                                         Email: admin@gokoinc.com




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                   OMNIBUS JOINT UNANIMOUS WRITTEN CONSENT OF
                          THE BOARDS OF DIRECTORS OR MANAGERS
                                                          OF
                                SMI TOPCO HOLDINGS, INC.,
                         SMI GROUP ULTIMATE HOLDINGS, INC., AND
                                SMI GROUP HOLDINGS, LLC

                                                December 3, 2023


         The undersigned, being (a) all of the members of the board of directors of each of SMI Topco Holdings,
Inc., a Delaware corporation (“SMI Topco”) and SMI Group Ultimate Holdings, Inc., a Delaware corporation
(“Group Ultimate”), and (b) the requisite number of the members of the board of managers of SMI Group
Holdings, LLC, a Delaware limited liability company (“Group Holdings”, and together with SMI Topco and
Group Ultimate, the “Companies” and each a “Company”) (each such director or manager of the Companies,
as applicable, a “Consenting Party” and collectively, the “Consenting Parties”), in lieu of a meeting of the
undersigned and acting pursuant to Section 141(f) of the Delaware General Corporation Law or Section 18-
404(d) of the Delaware Limited Liability Company Act, as applicable, do hereby consent to and adopt the
following resolutions:

         WHEREAS, Group Holdings and certain of the Companies’ subsidiaries (the “Subsidiaries”) are
parties to that certain Restructuring Support Agreement, dated as of September 15, 2023 (including all exhibits,
schedules and attachments thereto, and as amended, supplemented or otherwise modified from time to time, the
“Restructuring Support Agreement”), by and among Group Holdings, the Subsidiaries and the other parties
thereto;

          WHEREAS, pursuant to the Restructuring Support Agreement, the Subsidiaries agreed to (a) market
for sale all of the Subsidiaries’ assets and property and consider bids for all or substantially all of the Subsidiaries’
assets and property to a qualified bidder and/or (b) pursue a prepackaged chapter 11 plan (the “Plan”) under
Chapter 11 of Title 11 of the United States Code (the “Bankruptcy Code”) to implement either (i) a sale resulting
from the sale process described in clause (a) above or (ii) an equitization transaction;

         WHEREAS, the Subsidiaries and each of the Companies (collectively, the “Filing Parties”)
subsequently determined that if the Subsidiaries pursue the Plan then it is advisable and in the best interest of
the Filing Parties that the Companies pursue and become debtors under such Plan;

          WHEREAS, in accordance with the Restructuring Support Agreement, the Filing Parties prepared a
solicitation package including a Disclosure Statement for the Plan (including all schedules and exhibits thereto,
the “Disclosure Statement,” and together with the Plan, the “Chapter 11 Documents”) and related ballots,
notices, and other materials distributed to the holders of certain claims against the Subsidiaries in connection
with soliciting their votes to accept or reject the Plan in accordance with section 1125 of the Bankruptcy Code
and any applicable non-bankruptcy laws and within the meaning of section 1126 of the Bankruptcy Code (the
“Solicitation”); and

        WHEREAS, pursuant to the milestones set forth in the Restructuring Term Sheet, as extended in
accordance with the terms thereof, the Filing Parties commenced solicitation of the Plan on November 15, 2023.




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Chapter 11 Filing

         NOW, THEREFORE, BE IT RESOLVED, that the Consenting Parties hereby determine that it is
advisable and in the best interest of each Company, as applicable, to file voluntary petitions for relief pursuant
to Chapter 11 of the Bankruptcy Code with the U.S. Bankruptcy Court (the “Petitions”), consistent with the
resolutions set forth herein;

         FURTHER RESOLVED, that the officers of the relevant Companies (each, an “Authorized Officer”),
acting alone or with one or more other Authorized Officers, are hereby authorized and empowered to take such
actions and negotiate or cause to be prepared and negotiated and to execute and file the Petitions to commence
the Chapter 11 cases, and incur and pay or cause to be paid all fees and expenses and engage such persons, in
each case, as any such Authorized Officer shall in his or her judgment determine to be necessary or appropriate
to consummate the restructuring transactions, which determination shall be conclusively evidenced by such
Authorized Officer’s execution or delivery thereof;

         FURTHER RESOLVED, that each Company is hereby authorized to file or cause to be filed the
Petitions with the U.S. Bankruptcy Court;

         FURTHER RESOLVED, that each Authorized Officer, acting alone or with one or more other
Authorized Officers, is hereby authorized and empowered to execute, deliver, and file or cause to be filed with
the U.S. Bankruptcy Court on behalf of each Company, as applicable, the Petitions, in such form as prescribed
by the Official Forms promulgated pursuant to the Bankruptcy Code;

         FURTHER RESOLVED, that, upon the filing of the Petitions as authorized by the preceding
resolution, each Authorized Officer, acting alone or with one or more other Authorized Officers, is hereby
authorized and empowered to execute, deliver, and file or cause to be filed with the U.S. Bankruptcy Court, on
behalf of each Company, as applicable, all papers, motions, applications, schedules, and pleadings necessary,
appropriate, or convenient to facilitate the Chapter 11 cases pursuant to the Bankruptcy Code (the “Chapter 11
Cases”) and all of its matters and proceedings, and any and all other documents necessary, appropriate, or
convenient in connection with the commencement or prosecution of the Chapter 11 Cases, each in such form or
forms as the Authorized Officer may approve;

         FURTHER RESOLVED, that each Authorized Officer be, and each of them hereby is, authorized and
empowered to execute, deliver and file or cause to be filed with the U.S. Bankruptcy Court, on behalf of each
Company, as applicable, all papers and pleadings that such Authorized Officer believes to be necessary or
desirable to effect, cause or further the restructuring of each Company, as applicable, under Chapter 11 the
Bankruptcy Code and any and all other documents necessary to effectuate the Plan, including the Disclosure
Statement and any documents related thereto, together with any amendments or modifications thereto, or any
restatements thereof, in each case, as the Authorized Officer may approve;

General

         FURTHER RESOLVED, that each of the Authorized Officers is hereby authorized and empowered,
on behalf of each Company, as applicable, to certify and attest to any documents that he or she may deem
necessary, appropriate, or convenient to consummate any transactions necessary to effectuate the foregoing
resolutions; provided, such attestation shall not be required for the validity of any such documents; and

         FURTHER RESOLVED, that all actions heretofore taken by any officer, employee, or representative
of any Company in its name or for its account in connection with any of the above matters are hereby in all
respects ratified, confirmed and approved.



                                                        2
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                                              3
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        IN WITNESS WHEREOF, the undersigned have executed this written consent to be effective as
of the date first written above.

                                     THE DIRECTORS OF SMI TOPCO HOLDINGS, INC.:




                                      Steven G. Raich




                                      Brian Michaud




                        [Signature Page to the Omnibus Joint Written Consent of
                                   SMI TOPCO HOLDINGS, INC.]
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                          THE DIRECTORS OF SMI GROUP ULTIMATE
                          HOLDINGS, INC. AND THE REQUISITE NUMBER OF
                          MANAGERS OF SMI GROUP HOLDINGS, LLC:




                           Brian Michaud




                           Brian Ramsay




                           L. Richard Crawford




             [Signature Page to the Omnibus Joint Written Consent of
                 SMI GROUP ULTIMATE HOLDINGS, INC.
                        SMI GROUP HOLDINGS, LLC]
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 Fill in this information to identify the case and this filing:


              SMI Topco Holdings, Inc.
 Debtor Name __________________________________________________________________
                                            Southern                            Texas
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                                (State)
 Case number (If known):
                             23-[!]
                            _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         # Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
         # Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
         # Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
         # Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
         # Schedule H: Codebtors (Official Form 206H)
         # Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
         # Amended Schedule ____

         # Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                                                      Corporate Ownership Statement; List of Equity Security Holders
         # Other document that requires a declaration__________________________________________________________________________________



        I declare under penalty of perjury that the foregoing is true and correct.


                     12/04/2023
        Executed on ______________
                           MM / DD / YYYY
                                                             "/s/ Brian Michaud
                                                                _________________________________________________________________________
                                                                 Signature of individual signing on behalf of debtor



                                                                  Brian Michaud
                                                                 ________________________________________________________________________
                                                                 Printed name

                                                                 President and Secretary
                                                                 ______________________________________
                                                                 Position or relationship to debtor



Official Form 202                              Declaration Under Penalty of Perjury for Non-Individual Debtors
